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 1                                            0 R D E R

 2           Upon joint application and motion of the parties,            and for good

 3   cause shown,

 4           THE STIPULATION is admitted into evidence; and

 5           IT   IS   ORDERED   that   the    above-named   material   witness(es)   be

 6   released and remanded forthwith to the Department of Homeland Security

 7   for return to their country of origin.

 8           SO ORDERED.

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10   DATED                                                                   Judge

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